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                     UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF NEW JERSEY


 KAREN ANDERSON,                       HON.
                                       Civil Action No.
      Plaintiff,
                                       COMPLAINT AND JURY DEMAND
              vs.

 HILL WALLACK LLP; SENECA
 MORTGAGE SERVICING, LLC.;
 BSI FINANCIAL SERVICES a/k/a
 SERVIS ONE, INC.; OHA
 NEWBURY VENTURES, L.P.;
 GOSHEN MORTGAGE LLC; JOHN
 DOES I-X,

      Defendants.


     KAREN ANDERSON, of full age, hereby Complains of Defendants

as follows:

                            JURISDICTION AND VENUE

1.   Jurisdiction     is    appropriately     laid   in   the    United   States

District Court, District of New Jersey pursuant to 28 USC §1331

as the claim in question is based upon a federal statute and

Federal Question Jurisdiction.

2.   Venue is appropriately laid in the District Court of New

Jersey pursuant to 28 USC §1391(b)(2) as the events giving rise

to the claim occurred substantially within the State of New

Jersey.

                                    PARTIES

3.   Plaintiff      Karen   Anderson   owns    and   resides      in   the   real

property   located     at    540   Undercliff    Avenue,        Edgewater,    New

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Jersey.

4.     Hill Wallack LLP is a law firm that regularly pursued debt

collection activities on behalf of its clients.                           Hill Wallack

LLP     maintains        its   New    Jersey     offices      at   21    Roszel       Road,

Princeton, New Jersey 08540.

5.     Seneca          Mortgage      Servicing,       LLC   (“Seneca”)          currently

services         the     mortgage     loan   that     is    the    subject      of    this

litigation.            Seneca maintains its principal location of business

at    611    Jamison       Road,     Suite   7312,    Elma,    New      York.        Seneca

maintains an agent for service of process at Corporation Service

Company 830 Bear Tavern Road, West Trenton, New Jersey 08628.

6.     BSI Financial Services a/k/a Servis One, Inc. serviced the

mortgage loan that is the subject of this litigation prior to

Seneca. BSI Financial Services maintains its principal location

of business at 1425 Greenway Drive Suite 400, Irving, Texas.

BSI Financial Services maintains an agent for service of process

at Incorp Services Inc., 208 West State Street, Trenton, New

Jersey 08608.

7.     OHA Newbury Ventures Trust, L.P. claims to have been the

owner       of   the      mortgage    loan     that    is   the    subject      of     this

litigation before selling or otherwise transferring the mortgage

loan to Goshen Mortgage LLC.                 OHA Newbury Ventures Trust lists

its address as 7500 Old Georgetown Road, Suite 1300, Bethesda,

Maryland 20814.

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8.    Goshen Mortgage LLC claims to be the owner of the mortgage

loan that is the subject of this litigation.                          Goshen Mortgage

LLC   lists     its    address       as    411    W.     Putnam    Avenue,   Greenwich,

Connecticut 06830.

                           FACTS COMMON TO ALL COUNTS

9.    Plaintiff is the owner and resident of the real property

located at 540 Undercliff Avenue Edgewater, New Jersey.

10.   Plaintiff purchased the property in 1999.

11.   On September 11, 2009, Plaintiff entered into a mortgage

loan agreement and executed a promissory note payable to the

order of Bank of America, N.A. in the amount of $443,700.00

together with a mortgage as security for the promissory note.

12.   After the loan was closed it was sold multiple times.

13.   Due       to    unforeseen          economic        circumstances,        Plaintiff

defaulted on the mortgage loan in 2011.

14.   On    October     15,    2014       debt        collection   law   firm    McCabe,

Weisberg    &    Conway,      P.C.    filed       a    debt   collection     foreclosure

action on behalf of Ventures Trust 2013-I-H-R by MCM Capital

Partners, LLC, its trustee, under New Jersey docket F-043267-14.

15.   On January 7, 2015 debt collection law firm Hill Wallack

LLP substituted as counsel for McCabe, Weisberg & Conway, P.C.

in the foreclosure debt collection litigation.

16.   On May 4, 2015 Plaintiff Anderson by way of her attorneys,

filed a contesting answer to the foreclosure debt collection

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litigation complaint.

17.   Within     the    foreclosure,      discovery       and    motion     practice

occurred.       Defendant     Hill    Wallack    LLP   knew      Plaintiff    to   be

represented by counsel.

18.   On May 6, 2015 BSI Financial Services received a Qualified

Written Request sent by Plaintiff Karen Anderson dated April 29,

2015.    A     copy    of   the   Qualified     Written   Request     is    attached

hereto as Exhibit 1.

19.   The Qualified Written Request states:

             I am currently represented by Joshua W.
             Denbeaux, Esq. of Denbeaux & Denbeaux, 366
             Kinderkamack Road, Westwood, New Jersey
             07675. Their Telephone number is (201) 664-
             8855. I let you know this fact because I do
             not wish to have any communication from you
             with regard to my loan as I want everything
             to go directly to my attorney.

20.   Plaintiff retained counsel in relation to the mortgage debt

in part because she did not want to be directly contacted and

wanted to be free from the anxiety, physical and mental effects

of collections communications.

21.   On May 10, 2015 Kevin Martin of BSI Financial Services left

a detailed message on Plaintiff’s answering machine in which

payment and loss mitigation options were discussed, as well as

the threat of a foreclosure.

22.   By letter dated May 13, 2015, BSI Financial Services sent a

letter   to     Plaintiff     in     response    to    the      Qualified    Written


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Request.   A copy of the letter is attached hereto as Exhibit 2.

The letter from BSI Financial Services identifies Plaintiff’s

account number, property address, and states:

           This is an attempt to collect a debt.  Any
           information obtained will be used for that
           purpose.

23.   By letter dated May 13, 2015, BSI Financial Services sent a

letter to Plaintiff at her home in response to the Qualified

Written Request.      A copy of the letter is attached hereto as

Exhibit 3. The letter from BSI Financial Services identifies

Plaintiff’s account number, property address, the creditor to

whom the debt is owed and states:

           This is an attempt to collect a debt.  Any
           information obtained will be used for that
           purpose.

24.   By letter dated May 13, 2015, BSI Financial Services sent a

letter to Plaintiff at her home in response to the Qualified

Written Request.      A copy of the letter is attached hereto as

Exhibit 4.     The letter from BSI Financial Services includes a

payoff statement for the loan and states:

           The total amount needed to pay the loan in
           full is broken down for you in the payoff
           calculation.

           …

           This is an attempt to collect a debt. Any
           information obtained will be used for that
           purpose.

           …

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             Please submit your payoff via certified
             funds or wire transfer to BSI FINANCIAL
             SERVICES. CERTIFIED FUDNS OR WIRE TRANSFERS
             MUST BE RECEIVED BY OUR OFFICE BY 3:30 P.M.
             (ET) ON A NORMAL BUSINESS DAY (MONDAY
             THROUGH FRIDAY) TO BE CREDITED THAT DAY.
             Funds received after 3:30 P.M. (ET) on
             05/31/15 will require additional interest of
             $75.7405 per day. Mail Certified Funds to:
             …

25.   The May 13, 2015 letter solicits payment from plaintiff and

provides     instructions     on   how    to   pay    money     to   BSI    Financial

Services.

26.   By letter dated May 21, 2015 BSI Financial Services sent a

letter to Plaintiff          at her home.            A copy of the letter is

attached hereto as Exhibit 5.            The letter states:

             This is an attempt to collect a debt.  Any
             information obtained will be used for that
             purpose.

27.   The May 21, 2015 letter from BSI Financial Services states

Plaintiff’s loan number and address.

28.   By letter dated June 8, 2015, Seneca Mortgage Servicing

wrote   to   Plaintiff   at    her   home      and    advised    “You      are   hereby

notified that the servicing of your mortgage loan, that is, the

right to collect payments from you, is being assigned, sold or

transferred     from   BSI    Financial        Services    to    Seneca      Mortgage

Servicing LLC effective June 1, 2015.”                 A copy of the letter is

attached hereto as Exhibit 6.

29.   The June 8, 2015 letter includes the following disclosure:

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             Seneca Mortgage Servicing, LLC is attempting
             to collect a debt and any information
             obtained will be used for that purpose.

30.    By letter dated June 12, 2015, Seneca Mortgage Servicing

LLC wrote to Plaintiff at her home disclosing the loan number

and a statement identifying the owner of the loan, the amount

owed, and an itemization of fees and interest charged to the

account.     A copy of the letter is hereto attached as Exhibit 7.

The letter further states:

             Seneca Mortgage Servicing LLC is attempting
             to collect a debt and any information
             obtained will be used for that purpose.

31.    Seneca Mortgage Servicing LLC knew or had reason to know

that Plaintiff was represented by legal counsel in relation to

the loan that is the subject of this litigation.

32.    On information and belief, in June 2015 the mortgage loan

that   is   the   subject    of    this   litigation   was      sold    to   Goshen

Mortgage, LLC.

33.    Thereafter on August 18, 2015 Goshen Mortgage, LLC filed an

application to substitute as Plaintiff in the foreclosure debt

collection litigation.

34.    On   November   15,    2015    mortgage    servicing     company      Seneca

Mortgage     Servicing,      LLC     placed   a   notice   on     the    door   of

Plaintiff’s home.       A copy of the notice is attached hereto as

Exhibit 8.

35.    On December 15, 2015 Seneca Mortgage Servicing, LLC placed

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a notice on the door of Plaintiff’s home.               A copy of the notice

is attached hereto as Exhibit 9.

36.    On January 15, 2016 Seneca Mortgage Servicing, LLC placed a

notice on the door of Plaintiff’s home.              A copy of the notice is

attached hereto as Exhibit 10.

37.    By letter dated February 1, 2016, debt collection law firm

Hill    Wallack     LLP   sent   a   notice      directly     to   the    home     of

Plaintiff.       A copy of the notice is attached hereto as Exhibit

11.

       a.       The notice states the name of the property, and

       the last four digits of the loan number.

       b.   The    notice    instructs     Plaintiff        how    to    avoid

       judgment by making payment within 45 days.

       c.   The notice contains a threat that Hill Wallack

       LLP on behalf of Goshen Mortgage LLC would be applying

       for final judgment in the foreclosure litigation.

38.    Hill Wallack LLP knew plaintiff was represented by legal

counsel and also sent a copy of the letter marked Exhibit 11 to

counsel for Plaintiff.

39.    Seneca    Mortgage   Servicing,     LLC    has   regularly       made     phone

calls to Plaintiff’s cell phone despite knowing Plaintiff was

represented by counsel.

40.    On or about November 2015, Plaintiff changed her cell phone

number in part to avoid receiving debt collection calls from

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Seneca.

41.   Seneca     obtained      Plaintiff’s       new    cell     phone   number      and

proceeded to call the number without authorization.

42.   On   February     4,    2016    Seneca     called    Plaintiff’s     new      cell

phone number from phone number (866) 919-5608 in an attempt to

collect a debt.

43.   On   February     8,    2016    Seneca     called    Plaintiff’s     new      cell

phone number from phone number (866) 919-5608 in an attempt to

collect a debt.

44.   On     February    1,     2016,    Seneca        Mortgage      Servicing,     LLC

received a letter dated January 26, 2016 sent by Plaintiff’s

counsel.      A copy of the letter is hereto attached as Exhibit 12.

The letter instructs Seneca to cease and desist from contacting

Plaintiff in any way.

45.   After     receiving      the     January     26,     2016      letter,   Seneca

Mortgage      Servicing,      LLC    continued    to     call    Plaintiff     on   her

cellular phone.

46.   On or about April 7, 2016 Goshen Mortgage, LLC by way of

its   agent    Spurs    Capital,      directed     Robert       A.   Lippman   of   New

Vistas Corporation to visit Plaintiff at her home.

      a.      Mr. Lippman provided Plaintiff with the document

      hereto attached as Exhibit 13.

      b.      Mr. Lippman attempted to discuss the defaulted

      debt      and     ongoing       foreclosure         litigation       with

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       Plaintiff.

47.    Goshen Mortgage, LLC and Spurs Capital knew Plaintiff was

represented by legal counsel.

48.    Immediately after Mr. Lippman knocked on Plaintiff’s door,

the Plaintiff became frantic and concerned.

49.    Mr. Lippman told Plaintiff he was at the home on behalf of

the mortgage owner who was trying to foreclose on the home and

collect a debt against Plaintiff.

50.    Plaintiff walked upstairs to frantically call her attorney

during the meeting with Mr. Lippman.

51.    Plaintiff felt threatened and intimidated by the home visit

and    suffered    physical    and   emotional      harm,   including   loss    of

sleep.

                               CAUSES OF ACTION

                                     COUNT I

         VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

      (BSI Mortgage Servicing; Hill Wallack LLP; Seneca Mortgage

                   Servicing, LLC; Goshen Mortgage LLC)

52.    Plaintiff reincorporates by reference all allegations set

forth elsewhere in the Complaint as if set forth in full herein.

53.    Plaintiff    is   a   consumer   as   that    term   is   defined   by   15

U.S.C. §1692a

54.    The mortgage loan that is the subject of this litigation is

a debt as that term is defined by 15 U.S.C. §1692a.

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55.   Defendant BSI Financial Services is a debt collector as

defined by 15 U.S.C. §1692a.

56.   The three letters dated May 13, 2015 sent by BSI Financial

Services to Plaintiff are communications as defined by 15 U.S.C.

§1692a.

57.   BSI   Financial      Services       violated       15      U.S.C.     §1692c   by

communicating with Plaintiff in connection with the collection

of a debt while knowing that Plaintiff is represented by legal

counsel in relation to the debt.

      a.    BSI    Financial       Services       sent     the      three    debt

      collection communication letters dated May 13, 2015 to

      Plaintiff at her home without obtaining permission to

      do so from either Plaintiff’s attorney or from a court

      of competent jurisdiction.

      b.    BSI   Financial    Services         sent     the    May   13,    2015

      letters     to    Plaintiff    at    her    home     despite        knowing

      Plaintiff was represented by legal counsel and despite

      receiving     a    request    from       Plaintiff       to   direct    all

      communications to her counsel.

58.   BSI   Financial      Services       violated       15      U.S.C.     §1692d   by

engaging in conduct having the natural consequence of which is

to harass, oppress, or abuse any person in connection with the

collection of a debt.



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      a.     In     response   to    a     Qualified      Written       Request

      explicitly instructing BSI Financial Services to send

      its response and all future communications regarding

      the mortgage debt to Plaintiff’s attorney, Defendant

      sent    three    separate     letters    dated     May    13,    2015   to

      Plaintiff at her home.               The natural consequence of

      these       communications     was      to   harass      and/or     abuse

      Plaintiff.

      b.     Between February 23, 2015 and May 10, 2015 BSI

      Financial Services left at least eleven messages on

      Plaintiff’s answering machine relating to Plaintiff’s

      default,      attempts   to    collect       the   debt    and    making

      specific reference to foreclosure.                 The messages were

      heard or could have been heard by other persons and

      had the natural consequence to harass, oppress, and/or

      abuse Plaintiff.

      c.     In total, BSI Financial Services left more than

      45   messages     on   Plaintiff’s      answering     machine.          The

      repeated phone calls and messages were made with the

      intent to annoy, abuse or harass Plaintiff.

59.   BSI Financial Services violated 15 U.S.C. §1692e by using

false, deceptive, and/or misleading representations or means in

connection with the collection of a debt.



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      a.    On or about April 28, 2015 BSI Financial Services

      employee Kevin Martin left a message on Plaintiff’s

      answering relating to debt collection efforts, however

      Defendant failed to articulate that the “communication

      is from a debt collector” as required by 15 U.S.C.

      §1692e(11).

      b.    On or about May 4, 2015 BSI Financial Services

      employee Kevin Martin left a message on Plaintiff’s

      answering relating to debt collection efforts, however

      Defendant failed to articulate that the “communication

      is from a debt collector” as required by 15 U.S.C.

      §1692e(11).

      c.    On   May    4,    2015   BSI    Financial    Services     left   a

      message    on     Plaintiff’s        answering    relating     to   debt

      collection       efforts,      however     Defendant      failed       to

      articulate       that   the    “communication      is   from    a   debt

      collector” as required by 15 U.S.C. §1692e(11).

      d.    On or about May 10, 2015 BSI Financial Services

      employee Kevin Martin left a message on Plaintiff’s

      answering relating to debt collection efforts, however

      Defendant failed to articulate that the “communication

      is from a debt collector” as required by 15 U.S.C.

      §1692e(11).

60.   Defendant Hill Wallack LLP is a debt collector as that term

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is defined by 15 U.S.C. §1692a.

61.   The February 1, 2016 letter sent by Hill Wallack LLP to

Plaintiff is a communication as defined by 15 U.S.C. §1692a.

62.   Hill Wallack LLP violated 15 U.S.C. §1692c by communicating

with Plaintiff in connection with the collection of a debt while

knowing    that    Plaintiff    is       represented       by    legal      counsel       in

relation to the debt.

      a.    Hill Wallack LLP sent the February 1, 2016 debt

      collection     communication         to    Plaintiff       at    her       home

      without     obtaining    permission        to   do    so    from      either

      Plaintiff’s    attorney       or    from    a   Court      of    competent

      jurisdiction.

      b.    The February 1, 2016 letter instructs Plaintiff

      how to avoid a judgment by making payment on the loan.

63.   Hill Wallack LLP violated 15 U.S.C. §1692e by using false,

deceptive,      and/or   misleading         representations            or        means    in

connection with the collection of a debt.

      a.    The    February    1,    2016       communication         from       Hill

      Wallack LLP failed to disclose that the “communication

      is from a debt collector” as required by 15 U.S.C.

      §1692e(11).

64.   Defendant     Seneca     Mortgage         Servicing,       LLC        is     a     debt

collector as defined by 15 U.S.C. §1692a.



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65.   The letters sent by Seneca Mortgage Servicing, LLC dated

June 8, 2015 and June 12, 2015 each constitute a communication

as defined by 15 U.S.C. §1692a.

66.   Seneca Mortgage Servicing, LLC violated 15 U.S.C. §1692c by

communicating with Plaintiff in connection with the collection

of a debt while knowing that Plaintiff is represented by legal

counsel in relation to the debt.

      a.     Seneca Mortgage Servicing, LLC sent the June 8,

      2015 debt collection communication to Plaintiff at her

      home    without   obtaining    permission    to   do   so   from

      Plaintiff’s    attorney   or   from   a   Court   of   competent

      jurisdiction.

      b.     Seneca Mortgage Servicing, LLC sent the June 15,

      2015 debt collection communication to Plaintiff at her

      home    without   obtaining    permission    to   do   so   from

      Plaintiff’s    attorney   or   from   a   Court   of   competent

      jurisdiction.

      c.     Seneca Mortgage Servicing, LLC called Plaintiff

      on her personal cell phone several times in pursuit of

      debt collection activities.         The phone calls were made

      without obtaining permission from Plaintiff’s attorney

      or from a Court of competent jurisdiction.

67.   Seneca Mortgage Servicing, LLC violated 15 U.S.C. §1692d by

engaging in conduct having the natural consequence of which is

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to harass, oppress, or abuse any person in connection with the

collection of a debt.

      a.    In November 2015, December 2015 and January 2016,

      Seneca     sent    debt     collection       representatives        to

      Plaintiff’s      home.     This   was     done   regularly    despite

      knowing    that    she     was    represented       by    counsel   in

      relation to the debt and despite receiving an explicit

      request not to contact the Plaintiff directly.

      b.    Seneca     made    repeat   phone    calls    and   left   voice

      messages    on     Plaintiff’s       personal      cell    phone    in

      violation of 15 U.S.C. §1692d as it had no permission

      to call the cell phone and doing so had the natural

      consequence to harass, or abuse Plaintiff.

68.   Seneca Mortgage Servicing, LLC violated 15 U.S.C. §1692e by

using   false,   deceptive,       and/or     misleading    representations     or

means in connection with the collection of a debt.

      a.    The November 2015 debt collection notice placed

      on Plaintiff’s home door by Seneca Mortgage Servicing,

      LLC failed to disclose that the “communication is from

      a debt collector” as required by 15 U.S.C. §1692e(11).

      b.    The December 2015 debt collection notice placed

      on Plaintiff’s home door by Seneca Mortgage Servicing,

      LLC failed to disclose that the “communication is from

      a debt collector” as required by 15 U.S.C. §1692e(11).

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      c.    The January 2015 debt collection notice placed on

      Plaintiff’s home door by Seneca Mortgage Servicing,

      LLC failed to disclose that the “communication is from

      a debt collector” as required by 15 U.S.C. §1692e(11).

69.   Goshen Mortgage LLC is a debt collector as that term is

defined by 15 U.S.C. §1692a.

70.   Goshen Mortgage LLC retained Spurs Capital as its managing

agent.     A   copy   of    the   www.goshen-mortgage.com       website        which

states that Spurs Capital is its manager, is attached hereto as

Exhibit 14.

71.   Goshen     Mortgage     LLC    violated    15      U.S.C.      §1692c       by

communicating with Plaintiff in connection with the collection

of a debt while knowing that Plaintiff is represented by legal

counsel in relation to the debt.

      a.    Goshen Mortgage LLC by way of its agent Spurs

      Capital,    directed    Robert    A.   Lippman     of   New    Vistas

      Corporation     to     visit   Plaintiff      at    her     home    in

      connection with the collection of a debt.

      b.    Goshen     Mortgage        LLC   knew        Plaintiff       was

      represented by legal counsel when it directed an agent

      to visit Plaintiff at her home.

72.   Goshen Mortgage LLC violated 15 U.S.C. §1692d by engaging

in conduct having the natural consequence of which is to harass,



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oppress, or abuse any person in connection with the collection

of a debt.

      a.    Goshen      Mortgage    LLC’s   actions   in   sending   a

      representative to the home of Plaintiff in connection

      with the collection of a debt caused Plaintiff to feel

      threatened and intimidated.

73.   The within allegations are intended to place Defendants on

notice     of   their    wrongful    behavior   and   it   is   anticipated

additional acts in violation of 15 U.S.C. §§1692 et seq. may be

uncovered.

74.   As a result of the actions of Defendants, the Plaintiff has

suffered damages.

75.   Defendants actions have caused Plaintiff to suffer anxiety,

loss of sleep and focus.

76.   As a result of the actions of the Defendants, Plaintiff is

entitled to all relief under 15 U.S.C. §1692k including but not

limited to statutory damages, actual damages, attorney fees and

costs of suit.

                                    COUNT II

                 VIOLATION OF THE TRUTH IN LENDING ACT

                        (OHA NEWBURY VENTURES, L.P.)

77.   Plaintiff reincorporates by reference all allegations set

forth elsewhere in the Complaint as if set forth in full herein.

78.   The mortgage loan at issue in this litigation is a consumer

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credit transaction that is secured by the principal dwelling of

the consumer.

79.    On June 8, 2015 the promissory note and mortgage executed

by Plaintiff were assigned by Ventures Trust 2013-I-H-R by MCM

Capital Partners, LLC Its Trustee, to OHA Newbury Ventures, L.P.

A copy of the recorded assignment is attached hereto as Exhibit

15.

80.    The Assignment of Mortgage instrument states:

       FOR GOOD AND VALUABLE CONSIDERATION, the sufficiency
       of which is hereby acknowledged, the undersigned,
       VENTURES TRUST 20013-I-H-R BY MCM CAPITAL PARTNERS,
       LLC, ITS TRUSTEE, WHOSE ADDRESS IS 7500 Old Georgetown
       Rd., Suite 1300, Bethesda, MD, 20814, (ASSIGNOR), by
       these presents does convey, grant assign, transfer and
       set over the described Mortgage with all interest
       secured thereby, all liens, and any rights due or to
       become due thereon to OHA NEWBURY VENTURES L.P., WHOSE
       ADDRESS IS 7500 Old Georgetown Road Suite 1300,
       Bethesda, MD 20814, ITS SUCCESSORS AND ASSIGNS,
       (ASSIGNEE).

81.    Execution of the June 8, 2015 Assignment of Mortgage from

VENTURES TRUST 2013-I-H-R to OHA Newbury Ventures L.P. resulted

in a transfer of the mortgage loan that is the subject of this

litigation.

82.    At no time prior to or after execution of the June 8, 2015

Assignment of the Mortgage Loan did OHA Newbury Ventures, L.P.

send   written    correspondence     to    Plaintiffs     disclosing   that   it

acquired    the    mortgage   loan    that     is   the    subject     of   this

litigation.


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83.   Truth in Lending Act 15 U.S.C. §1641(g) states:

      (1) In general. In addition to the other disclosures
      required by this title, not later than 30 days after
      the date on which a mortgage loan is sold or otherwise
      transferred or assigned to a third party, the creditor
      that is the new owner or assignee of the debt shall
      notify the borrower in writing of such transfer,
      including—
      (a) the identity, address, telephone number of the new
      creditor;
      (b) the date of transfer;
      (c) how to reach an agent or party having authority to
      act on behalf of the new creditor;
      (d) the location of the place where transfer of
      ownership of the debt is recorded; and
      (e) any other relevant information regarding the new
      creditor.

84.   Defendant OHA Newbury Ventures L.P. did not send Plaintiffs

a written disclosure containing the information required by 15

U.S.C. §1641(g).

85.   Within 30 days execution of the June 8, 2015 Assignment of

Mortgage,      OHA   Newbury   Ventures      L.P.   was   obligated   under   the

Truth in Lending Act to issue a written disclosure to Plaintiff

identifying its status as owner and/or assignee.

86.   As a result of the Defendants’ failure to send written

notice to Plaintiff pursuant to 15 U.S.C. §1641(g), the OHA

Newbury Ventures, L.P. violated the Truth in Lending Act.

87.   As   a   result    of    the   Defendants’     actions,   Plaintiff     has

suffered damages.

88.   Plaintiff is entitled to all relief under 15 U.S.C. §1640

including but not limited to statutory damages, actual damages


                                        20
Case 3:16-cv-02437-BRM-LHG Document 1 Filed 04/29/16 Page 21 of 69 PageID: 21



attorney fees and costs of suit.

                                        COUNT III

          VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

                      (Seneca Mortgage Servicing LLC)

89.   Plaintiff reincorporates by reference all allegations set

forth elsewhere in the Complaint as if set forth in full herein.

90.   Plaintiff is a person as that term is defined by 47 U.S.C.

§153(39).

91.   At all relevant times Seneca Mortgage Servicing LLC has

used,   controlled        and/or     operated     automatic       telephone     dialing

systems    as    defined     by    47    U.S.C.     §227(a)(1)      and    47   C.F.R.

§64.1200.

92.   Seneca Mortgage Servicing LLC made several phone calls to

Plaintiff’s      personal      mobile      cellular       phone    since     Plaintiff

changed her phone number on or about November 2015.

93.   On February 4, 2016 and February 8, 2016, Seneca Mortgage

Servicing    LLC     made    unauthorized         phone    calls    to     Plaintiff’s

cellular phone.

94.   At no time has Plaintiff provided Seneca Mortgage Servicing

LLC prior express consent to use an automatic telephone dialing

system to call Plaintiff on her cellular phone.

95.   The phone calls to Plaintiff from Seneca Mortgage Servicing

LLC were made using an automatic telephone dialing system in

violation       of   47     U.S.C.      §227(b)(1)(A)(iii)         and     47   C.F.R.

                                           21
Case 3:16-cv-02437-BRM-LHG Document 1 Filed 04/29/16 Page 22 of 69 PageID: 22



64.1200(a)(1)(iii).

96.    The     actions    of   Seneca      Mortgage      Servicing        LLC    caused

Plaintiff to suffer damages.

97.    Plaintiff    has    suffered     from     anxiety,    loss    of    sleep       and

focus resulting from Defendant’s continued calls placed to her

cellular phone.

98.    Pursuant to 47 U.S.C. §227(b)(3)(B) Plaintiff is entitled

to    statutory    damages     of   $500.00      per    telephone    call       made   to

Plaintiff.

99.    Seneca     Mortgage     Servicing        LLC    willfully     and    knowingly

violated the Telephone Consumer Protection Act and Plaintiff is

entitled to $1,500.00 per telephone call made to the Plaintiff

pursuant to 47 U.S.C. §227(b)(3).

100. Pursuant to 47 U.S.C. §227(b)(3)(a), Plaintiff is entitled

to injunctive relief prohibiting Seneca Mortgage Servicing LLC

from    contacting       Plaintiff    on    her       cellular     phone    using      an

automated dialing system.

       WHEREFORE, Plaintiff demands:

       a.      Compensatory Damages

       b.      Statutory Damages

       c.      Punitive Damages

       d.      Attorney fees and costs

       e.      All other relief this Court determines to be just and

       fair.

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                            JURY TRIAL DEMAND

      Plaintiff hereby demands a trial by jury.



Dated:   April 13, 2016                        /s/ Adam Deutsch
                                               Adam Deutsch, Esq.
                                          DENBEAUX & DENBEAUX
                                               Attorneys for Plaintiffs




                                     23
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Case 3:16-cv-02437-BRM-LHG Document 1 Filed 04/29/16 Page 26 of 69 PageID: 26
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     Case 3:16-cv-02437-BRM-LHG Document 1 Filed 04/29/16 Page 30 of 69 PageID: 30
         ---         9                                                                           7500 Old Georgetown Road
                                                                                                                  Suite 1350

      A!frfJ/"#nancial                                                                                  Bethesda, MD 20814
                                                                                                   Toll Free 1-866-581-4498
                                                                                                         Fax L-877-783-8516
                                                                                                       www.bsifinancial.com

     Sent via First Class     Mail

     May 13,2015


     Karen Anderson
     770 River Road
     unit   461
     Edgewater, NJ 07020




     RE:      Account Number:             522457536
              Property address:           540   UndercliffAve
                                          Edgewater, NJ 07020


     To Whom It May Concern:

     BSI Financial Services is in receipt of your written inquiry received 05/06115.We are in process
     of reviewing your inquiry and will provide a response within the timelines permitted.


     Sincerely,




     Kasey Henton
     Complaint Resolution Specialist
i    BSI Financial Services
     NMLS#38078;#2$9267

     This is an attempt to collect a debt. Any information obtained will be used for that purpose.



     Llcensed as Servis One, lnc. dba BSI Financial Services.
     BSI Financial Services NMLS #38078. Customer Care Hours: Monday. - Friday 9:00 am to 6:00 pm (EST), Saturday
     by appointment. Colorado Office Location: 13111 E. Briarwood Ave., Suite 340, Centennial, CO g0112 (303) 309-
     3839. Licensed as a Debt Collection Agency by the New York City Department of Consumer Affairs, (# 2OO14g5-
     DCA). North Carolina Collection Agency Permit (# 108732).
     lf you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have
     received a discharge of your personal liability forthe obligation identified in this letter, we may not and do not intend
     to pursue collection of that obligation from you personally. lf either of these circumstances apply, this notice is not
     and should not be construed to be a demand for payment from you personally. Unless the Bankruptcy Court has
     ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property
     that secures the obligation remain unimpaired.
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Case 3:16-cv-02437-BRM-LHG Document 1 Filed 04/29/16 Page 32 of 69 PageID: 32
                                                                                             7500 Old Georgetown Road

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                                                                                                    Bethesda, MD 208L4
                                                                                               Toll Free 1-866-581-4498
                                                                                                     Fax 1-877-783-8516
                                                                                                   www.bsifinancial.com



 Sent Via First Class     Mail

 May 13,2015


Karen Anderson
770 River Road
unit   461
Edgewater, NJ 07020


RE:       Account #                   5224575366
          Property address:           540 Undercliff Ave
                                      Edgewater, NJ 07020

To Whom It May Concern:

I am writing in response to your inquiry concerning the above referenced account.

The owner or assignee of the loan referenced above is:

                                          Ventures Trust 201 3-1 -H-R
                                      7500 Old Georgetown Rd, Suite 1300
                                             Bethesda, MD 20814
                                                t-240-744-3100



Please be advised   that all questions concerning your loan account should be directed to BSI
tr'inancial Seruices at the number below and not to the owner or assignee of the loan. The
owner or assignee of the loan does not have access to information relating to the
administration of your loan and will not be able to answer most loan-related questions.


 Licensed as Servis One, lnc. dba BSI Flnancial Services.
 BSI Financial Services NMLS # 38078. Customer Care Hours:       Monday. - Friday 9:00 am to 6:00 pm (EST), Saturday
by appointment. Colorado Office Location: 1311L E. Briarwood Ave., Suite 340, Centennial, CO 80112 (303) 309-
3839. Licensed as a Debt Collection Agency by the New York City Department of Consumer Affairs, (# 2001485-
DCA). North Carolina Collection Agency Permit l# !08732).
lf you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have
received a discharge of your personal liability for the obligation identified in this letter, we may not and do not intend
to pursue collection of that obligation from you personally. lf either of these circumstances apply, this notice is not
and should not be construed to be a demand for payment from you personally. Unless the Bankruptcy Court has
ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property
that secures the obligation remain unimpaired.
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                                                                                               7500 Old Georgetown Road
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                                                                                                 Toll Free 1-866-581-4498
                                                                                                       Fax L-877-783-8516
                                                                                                     www.bsifinancial.com

  X Additional information was requested in your correspondence.
                                                                 We will respond in a separate
  letter once we have completed oui research.


  Should you have any questions regarding this matter, please
                                                              contact BSI Financial Services at 1-
  866-581-4498.

  HOURS:
      Monday          - Friday 9:00 am to 6:00 pm (ET)
           Saturday    - BY APPOINTMENT ONLY
 If you wish to     send a further request     for information or a notice of error, please address your
  letter to:

 BSI Financial Services
 Attn: Qualified Written Requests
 1425 Greenway Drive, Suite 400
 Luing, TX 75038


 Sincerely,

 Kasey Henton
 Complaint Resolution Specialist
 BSI Financial Services
 NMLS #38078;#299267

 This is an attempt to collect a debt. Any information obtained
                                                                will be used for that purpose.




Licensed as Servis One, lnc. dba BSI Financial Services.
BSI Financial services NMLS # 38078. customer care
                                                       Hours:    Monday. - Friday 9:00 am to 6:00 pm (EST), saturday
 by appointment' colorado office Location: 13111 E. Briarwood
                                                                     Ave., Suite 340, centennial, co g0112 (303) 30g-
 3839' Licensed as a Debt collection Agency by the New York
                                                                 city Department of consumer Affairs, (# 20014g5-
 DCA). North Carolina Collection Agency permit (# 10g732).
 lf you have filed a bankruptcy petition and there is an
                                                         "automatic stay" in effect in your bankruptcy case or you have
received a discharge of your personal liability for the obligation
                                                                   identiiied in this letter, we may not and do not intend
to pursue collection of that obligation from you personally. lf either
                                                                         of these circumstances apply, this notice is not
and should not be construed to be a demand for payment from you personally.
                                                                                          Unless the Bankruptcy court has
ordered otherwise, please also note that despite any such bankruptcy
                                                                           filing, whatever rights we hold in the property
that secures the obligation remain unimpaired.
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Case 3:16-cv-02437-BRM-LHG Document 1 Filed 04/29/16 Page 34 of 69 PageID: 34
Case 3:16-cv-02437-BRM-LHG Document 1 Filed 04/29/16 Page 35 of 69 PageID: 35
                                                                                                  7500 Old Georgetown Road


  A*tr/*ffgf,ciat                                                                                                  Suite 1350
                                                                                                         Bethesda, MD 20814
                                                                                                    Toll Free 1-866-581-4498
                                                                                                          Fax 1-877-783-8516
                                                                                                        www.bsifinancial.com


  Sent Via First Class      Mail


 May 13,2015

 Karen Anderson
 770 River Road
 unit 461
 Edgewater, NJ 07020

 RE:
           Account #                    522457536
           Property address:            540 Undercliff Ave
                                        Edgewater, NJ 07020

 To Whom It May Concern:

 I am writing in response to your inquiry concerning the above referenced account. please
                                                                                            see the
 enclosed payoff statement good through5l3u20t5. Pl"us" contact
                                                                    our office at 1-g66-5g l-449g
 two business days prior to remitting payoff funds to confirm the payoffamount.

We are in the process of reviewing the other requests contained in your
                                                                        inquiry and wi1 provide
a response to those requests within the timelines permitted by law.


Should you have any questions regarding this matter, please contact BSI
                                                                        Financial Services at 1-
 866-s8t-4498.


HOURS:
    Monday        - Friday 9:00 am to 6:00 pm (ET)
          Saturday - BY APPOINTMENT ONLY




Licensed as Servis One, lnc. dba BSI Financial Services.
BSI Financial Services NMLS # 38078. Customer care Hours:
                                                                 Monday. - Friday 9;00 am to 6:00 pm (EST), saturday
 by appointment. colorado office Location: 13111 E. Briarwood Ave.,
                                                                           suite 340, centennial, co g0112 (303) 30g-
3839' Licensed as a Debt collection Agency by the New York city Department
                                                                                     of consumer Affairs, (# 20014g5-
 DCA). North Carolina Collection Agency permit (# 1,Og73Z).
lf you have filed a bankruptcy petition and there is an "automatic stay"
                                                                            in effect in your bankruptcy case or you have
received a discharge of your personal liability for the obligation identified
                                                                              in this letter, we may not and do not intend
to pursue collection of that obligation from you personally. lf either of these circumstances
                                                                                                     apply, this notice is not
and should not be construed to be a demand for payment from you personally.
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ordered otherwise, please also note that despite any such bankruptcy filing, whatever
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that secures the obligation remain unimpaired.
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                                                                                                        7500 Old Georgetown Road
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           Sincerely,
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           Complaint Resolution Specialist
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           BSI Financial Services
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           NMLS #38078;#289267
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           Licensed as Servis One, lnc. dba BSI Financial Services.
           BSI Financial Services NMLS # 38078. Customer Care Hours:        Monday. - Friday 9:00 am to 6:00 pryr (EST), Saturday
           by appointment. Colorado Office Location: 13111 E. Briarwood Ave., Suite 340, Centennial, CO 80112 (303) 309-
           3839. Licensed as a Debt Collection Agency by the New York City Department of Consumer Affairs, (# 2001485-
           DCA). North Carolina Collection Agency Permit l# tO87321.
           lf you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have
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     May 13,2015



     KAREN ANDERSON


     770 RIVER ROADUNIT46l
     EDGEWATER                   NJ 07020


     IOAN fi: 0522457536

     IOAN DESCRIPTION: 540              UNDERCLTFF AVE
                                   EDGEWATER                   NJ 07020

    Thank you for your inquiry about paying off this loan. This statement is not valid if the name or.property address
    indicated above does not agree with your pending tiansaction. Please contact our office immediatety concerning
    any discrepancy.

    The total amount needed to pay the loan in full is broken down for you in the payoff calculation below. please
                                                                                                                    call
    us if you have any questions. We will be glad to be of assistance. These figures are good through the date set forth
    below. lf your loan is in default, foreclosure activity, including any sale of the property, will continue until the loan
    is paid in full.


        UN PAI D PRINCIPAL BALANCE                                                                                                              433551.29
        TNTERESTTO        OSBrl15                                                                                                               103638.10
        PREPAYMENT PENALry                                                                                                                              0.00
        UNPAID LATE CHARGE                                                                                                                         6089.50
        UNAPPLIED FUNDS APPLIED                                                                                                                      -10.00
       UNPAID      FEES                                                                                                                            4274.35
       DEFERRED AMOUNT                                                                                                                                    .fi)
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       PRTVATE MORTGAGE TNSURANCE                     (PMt)                                                                                             0.00
       DISCHARGE FEE:                                                                                                                                   0.00
       HANDLING FEE:                                                                                                                                  43.00
       PAYOFF STATEMENT:                                                                                                                                0.00
       OTHER: Negative lmpound Account                                                                                                           33987.98
       UNAPPLIED FUNDS RETAINED                                                                                                                      0.00 *
       roTAL AMOUNT TO pAy LOAN tN FULL ON 0s/3u1s                                                                                            $sgrsza.sz
    * The unapplied
                    funds are not included in the calculation because the funds are Loss Draft, HAMp, or etc.
    The amount owed may change between the date of this letter and the date that the loan is paid off. The next
    payment on this loan is due tolOlltl. The scheduled payment is 53523.52, which includes a principal and lnterest
    Payment of s2758.11 and an Escrow Payment of 5755.41. You must contact our office at 1-800-327-7g51 within

    Licensed as Servis One, lnc. dba 8Sl Financial Services.

    BSI Financial services NMLS # 38078.   customer care Hours: Mon.   -   Fri. 9:oo am to 6:00 pm (ET).

    lf you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your
    personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that
                                                                                                                               obligation from you personally. lf
    either of these circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally. Unless the
    Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property
                                                                                                                                              that secures
    the obligation remain unimpaired.



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                                                                                                                              Fax&77-7&3-A526
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48 hours of when you intend to remit the payoff funds to confirm the payoff amount. Additionally, payoff
figures will be adjusted if any check or money order previously received is rejected by the institution upon which it
is drawn.

Please submit your payoff via certified funds or wire transfers to BSI FlNANclAt sERVlcEs. CERTIFIED FUNDs oR
WIRE TRANSFERS MUST BE RECEIVED BY OUR OFFICE BY 3:30 P.M. (ET) ON A NORMAL BUs|NESS DAy (MONDAv
THROUGH FRIDAY) TO BE CREDITED THAT DAY. Funds received after 3:30 P.M. (ET) on O5,lttltl will require
additional interest of 575.7405 per day. Mail Certified Funds to:

                                     BSI FINANCIAT SERVICES
                                     314 S. FRANKLTN STREET/P.O. BOX 517
                                     TITUSVILLE, PA 16354
                                     ATTN: CASHIERING
Wire instructions are as follows:


                                     Bank: TexaS Capital Bank'
                                     Beneficiary: BSI Payment in Process Clearing Account
                                     2000 McKinney Ave, Suite 700
                                     Dallas, TX 752OL
                                     ABA: 111017979
                                     Account Number: 2111020455
                                     Final Credit To: Payments/Cashiering
                                     Reference lnformation: Loan Number, Borrower Name and property address

   Failure to include the above information on the wire advice may cause a delay in posting the funds. BSI will not
   be responsible for any additional interest or fees that may be assessed as a result of incomplete or incorrect wire
   information. Wire transactions that are received and cannot be identified will be returned to the ABA and
   account number from which they were received. lf you have any questions regarding the wire instructions listed
   here, contact our office at 1-8(XI.327-78GL.

            ISSUANCE OF THIS STATEMENT DOES NOT SUSPEND YOUR CONTMCTUAL REQUIREMENT                                                           TO MAKE THE
            MORTGAGE PAYMENTS WHEN THEY ARE DUE.                                  A
                                                          LATE CHARGE OF 5138.40 WILL BE ADDED TO THE
            PAYOFF TOTAL IF RECEIVED AFTER THE EXPIRATION OF YOUR GRACE PERIOD.

            THIS LOAN MUST BE KEPT CURRENT WHILE THIS STATEMENT IS PENDING, OR LATE CHARGES WILL BE
            ASSESSED.

            IF YOUR LOAN IS IN DEFAULI FORECLOSURE ACTIVIW, INCLUDING ANY SALE OF THE PROPERTY, WILL
            CONTINUE UNTIL THE LOAN IS FULLY REINSTATED OR PAID IN FULL.
            AFTER THE FUNDS HAVE BEEN APPLIED AND THE LOAN SHOWS PAID IN FULL,                                        A LIEN RELEASE OR FULL
            RECONVEYANCE WILL BE PREPARED AND SENT TO THE COUNTY RECORDER.

            IF YOU HAVE FILED A BANKRUPTCY PETITION AND THERE IS EITHER AN 'AUTOMATIC STAY'' IN EFFECT IN
            YOUR BANKRUPTCY CASE OR YOU HAVE RECEIVED IN THAT CASE A DISCHARGE OF YOUR PERSONAL
            LIABILIW FOR THE OBLIGATION IDENTIFIED IN THIS LETTER, WE MAY NOT AND DO NOT INTEND TO
            PURSUE COLLECTION OF THAT OBLIGATION FROM YOU PERSONALLY. IF THESE CIRCUMSTANCES APPLY,


Licensed as Servis One, lnc. dba BSI Financial Services.

BSI Financial Services NMLS # 38078. Customer Care Hours: Mon.     -   Fri. 9:00 am to G:00 pm (ET).

lf you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your
personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation from you personally. lf
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Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures
the obligation remain unimpaired.



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                                                                                                                       www-bsifinanci*l-cerm

            THIS NOTICE IS NOT AND SHOULD NOT BE CONSTRUED TO BE A DEMAND FOR PAYMENT FROM YOU
            prR3oruRlly. uNLEss rHE BANKRUpTcy couRT HAS oRDERED orHERWrsE, HowEVER, pLEASE ALSo
            NOTE THAT DESPITE ANY SUCH BANKRUPTCY FILING, WHATEVER RIGHTS WE HOLD IN THE PROPERTY
            THAT SECURES THE OBLIGATION REMAIN UNIMPAIRED.




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Licensed as Servis One, lnc. dba BSI Financial Services.

BSI Financial Services NMLS # 38078. Customer Care Hours: Mon.     -   Fri. 9:00 am to 5:00 pm (ET).

lf you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your
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                                                                                       Toll Free 866-581-44$8
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May 2L,2OL5                                  [Sent Via First Class Mail/Fedex lFaxlEtcl




KAREN ANDERSON                                        FIRST NOTICE
770 RIVER ROAD UNIT461
EDGEWATER        NJ 07020



                                                               Re: Property Address - 540 UNDERCLIFF AVE
                                                                                EDGEWATER                            NJ 0-7020
                                                                                              Loan #: 0522457536

Dear KAREN ANDERSON:


This letter is to inform you that we will no longer be collecting a monthly escrow payment for
insurance premiums. lf your account is escrowed for real property taxes or mortgage insurance
premiums, however, the escrow portion of your monthly payment will continue and we will
continue to disburse to pay these items on your behalf. We will send you a copy of a new
escrow analysis statement advising of your new monthly escrow payment that will be effective
with your August 2015 payment.

lf you have not delivered to us evidence of acceptable hazard insurance policy being in force
and your property has been covered by a lender-placed insurance policy then, as you have been
previously advised by our insurance vendor, effective May 5, 20L5, that insurance is no longer
in effect and from andaftertffiate your property will not be covered by any hazard
insurance. We again urge you to contact your insurance agent or carrier and obtain a
homeowner's policy to protect your real property and contents from loss, in an amount
acceptable to you.


Licensed as Servis One, lnc. dba BSI Financial Services.
BSI Financial Services NMLS  f 38078. Customer Care Hours: Mon. - Fri. 9:00 am to 6:00 pm (ET).
lf you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you
have received a discharge of your personal liability for the obligation identified in this letter, we may not and do
not intend to pursue collection of that obligation from you personally. lf either of these circumstances apply, this
notice is not and should not be construed to be a demand for payment from you personally. Unless the
Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights
we hold in the property that secures the obligation remain unimpaired.

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Effective May 5, 20L5, your account may be covered under a blanket policy by the holder of
your note and mortgage. Or, the entity that owns your mortgage loan may elect to setf-insure.
ln either case, your equity in the property will not be covered nor will contents or liability in the
event of any loss. We again urge you to contact your insurance agent or carrier to place
coverage in an amount acceptable to you, to cover losses that you elect to have covered.


As a consequence of dropping insurance premiums as an escrowed item from your escrow
account, we will not be monitoring the payment of hazard and flood insurance premiums. lf
you would like your equity in your property (and contents and liability, as appropriate)to be
covered against these risks, you must obtain coverage on your own.


lf you have any questions, please feel free to contact our Customer Care Department at 800-
327-786L. Thank you.


Sincerely,



BSI Financial Services



BSI Financial Services
NMLS#38078; #289267

This is an attempt to collect a debt. Any information obtained will be used for that purpose.




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4/12/2016                                                          Goshen
                                  Case 3:16-cv-02437-BRM-LHG Document 1 Mortgage LLC
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                                                                         Manager of

                                                                   GDBT I Trust 2011-1
                                                                  Goshen Mortgage LLC
                                                                Goshen Mortgage REO LLC

                                                                    1-303-923-6411
                                                 For more information email info@goshen-mortgage.com


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